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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO: 16-20281-Civ-MOORE

  DULCE ROJAS, individually and as
  natural guardian and parent of
  A.G.R., a minor,

        Plaintiffs,

  v.

  UNITED STATES OF AMERICA

        Defendant.
  ________________________________

       DEFENDANT UNITED STATES’ NOTICE REGARDING SETTLEMENT

        The undersigned Assistant United States Attorney seeks through this Notice to advise

        the Court of the current status and procedures involved in finalizing approval of the

        proposed stipulated settlement:

        1. On February 7, 2017, the parties entered into a proposed settlement with the

            condition that the United States Attorney for the Southern District of Florida and

            the Assistant Attorney General approve the terms of the settlement.

        2. The proposed settlement agreement contains multiple conditions prior to the

            approval by the Department of Justice (DOJ). Those conditions include:

                a. approval of the settlement by the probate court in the Circuit Court of the

                      Eleventh Judicial Circuit on behalf of and for the benefit of the minor;

                b. approval of the settlement by the U.S. Attorney for the Southern District of

                      Florida;

                c. providing the United States with a complete set of extant medical records for

                      the child;


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               d. a release and waiver of any claim or cause of action by any other alleged

                    tortfeasor;

               e. a release and waiver of any known claims or liens, such as claims by

                    Medicaid;

               f.   a memorandum from the undersigned to the Torts Branch of the DOJ

                    indicating the basis for the settlement;

               g. submission of a memorandum from the DOJ Torts Branch to the Assistant

                    Attorney General for the Civil Division seeking final approval;

               h. stipulation signed by all parties (including the United States, which is

                    conditioned upon approval by the Assistant Attorney General);

               i.   providing all necessary tax identification;

               j.   approval of the Assistant Attorney General for the Civil Division.

        3. As of this date, the issues remaining before submission for approval by the Torts

           Branch and the Assistant AG are paragraphs 2 (f-h) above. On February 21, 2017,

           the probate court approved the terms of the settlement.

        4. The parties are cooperating, and the matter is moving forward towards seeking and

           obtaining approval of the proposed settlement by the Assistant Attorney General.

        5. The United States Attorney for the Southern District of Florida has approved the

           settlement. A memorandum in support of the settlement will be completed and sent

           to the DOJ Torts Branch on or before March 10, 2017. The Torts Branch is aware

           of the proposed settlement amount and has requested all the necessary documents in

           support prior to the Torts Branch of the DOJ submitting the settlement for final

           approval to the Assistant Attorney General.




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        6. At this time, the United States is requesting that the case not be dismissed until the

            Assistant Attorney General for the Civil Division approves the settlement.


  Dated: March 6, 2017.

                                      Respectfully submitted,

                                      BENJAMIN G. GREENBERG
                                      ACTING UNITED STATES ATTORNEY



                                  By: s/ Lawrence Rosen
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                                  CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on this 6th day of March, 2016, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record on the attached Service List through
  ECF.


                                              s/ Lawrence Rosen
                                              LAWRENCE ROSEN
                                              Assistant United States Attorney




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                                        SERVICE LIST
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                    United States District Court, Southern District of Florida


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